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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 PRINCETON CARBONWORKS, INC., a            )
 Delaware Corporation,                     )
                                           )
        Plaintiff,                         )
                                           )       C.A. No. 1:25-cv-00131-RGA
        v.                                 )
                                           )
 PAUL DANIELS,                             )
                                           )
                Defendant.                 )

                     ANSWERING BRIEF IN OPPOSITION TO
               DEFENDANT’S MOTION TO DISMISS AND/OR TRANSFER




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 Dated: April 4, 2025




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     I.      Nature and Stage of the Proceedings

          This case is about Daniels’ claiming ownership in Princeton CarbonWorks, a Delaware

 corporation (“Princeton-Delaware”) based on his ownership of a now-defunct Florida corporation

 which was merged out of existence. The long-arm statutes and Delaware corporate law1 gives

 Delaware courts both in personam and in rem or quasi in rem jurisdiction to force parties who

 claim a right in Delaware stock to come to Delaware to litigate those issues. None of the

 shareholders work or live in Florida. The Florida company no longer exists. Daniels’ claims in

 Florida are not to unwind the merger, but to seek the value of his shares and the ability to transfer

 his shares—i.e., claims that go to the nature and attributes inherent in Delaware stock. For example,

 in the Florida Complaint, Daniels seeks a declaration concerning “the extent and fair market value

 of his interest in Princeton Carbon Works and Princeton CarbonWorks DE and his ability to sell

 his interest to a third party[.]” Ex. A, Florida Complaint, ¶ 53(a).

          Should Daniels win in Florida, he would need to sue in Delaware to collect against

 Princeton-Delaware.

          After two years of employment with Princeton-Florida, in April of 2019, Daniels resigned,

 but remained a minority shareholder in Princeton-Florida. Nearly six years after his resignation,

 and more than six months after the extinguishment of his Princeton-Florida stock due to a merger

 of Princeton-Florida into Princeton-Delaware, Daniels notified the Company that he intended to

 assert a claim that he owns stock in the Delaware entity post-merger. Princeton-Delaware brought


 1
   Section 111 of the Delaware General Corporation Law provides this Court power to determine
 issues regarding ownership of stock in a Delaware corporation. Am. Compl. ¶ 10. 8 Del. C. §169
 provides that “the situs of the ownership of the capital stock of all corporations existing under the
 laws of this State [] shall be regarded as in this State.” Id. ¶ 9. Section 259(a) of the Delaware
 General Corporation Law provides that Princeton-Delaware, as the resulting corporation of the
 merger between Princeton-Florida and Princeton-Delaware, possesses the rights of Princeton-
 Florida, including the right to a determination of the ownership of its stock. Id. ¶ 8.

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 this declaratory judgment action in Delaware—the only venue in which jurisdiction could be

 asserted over all parties. Daniels subsequently filed suit in Florida, asserting that he is entitled to

 shares of Princeton-Delaware and other claims.2

            On March 21, 2025, Daniels moved to dismiss the First Amended Complaint, and, in the

 alternative, to transfer this matter to the District Court for the Southern District of Florida. This

 Answering Brief of Princeton CarbonWorks opposes Daniels’ Motion to Dismiss and/or Transfer.

     II.       Summary of Argument

            Princeton-Delaware seeks a declaration that Daniels does not own any shares of stock of

 the Company, contrary to his claims. This action does not involve, nor does it depend on, in

 personam jurisdiction, but is rather a quasi in rem or in rem action, involving the ownership of

 stock in a Delaware corporation. Delaware courts have recognized that the exercise of jurisdiction

 would be appropriate to resolve issues regarding the existence or ownership of stock of a Delaware

 corporation. The stock at issue is located—by statute—in Delaware.

     III.      Statement of Facts

            Neither Princeton-Delaware, any of its officers or directors, nor Daniels reside in Florida.

 (Am. Compl. ¶ 11, Ex. A ¶¶5-8). Princeton-Delaware is a Delaware corporation with its principal

 place of business in Connecticut. (Am. Compl. ¶ 2, Ex. A ¶ 9). Daniels is a resident of

 Pennsylvania. (Am. Compl. ¶ 12, Ex. A, Florida Complaint, ¶ 5). No party to the Florida suit3

 resides or works in Florida. (Ex. A, ¶¶ 5-9).



 2
   A Motion to Dismiss based partially on lack of jurisdiction and venue and a Motion to Drop
 Improper Party are both still pending in the Florida court. The Florida court recently denied a
 motion to stay that case, reasoning that the discovery will be substantially similar in both the
 Delaware and Florida cases.
 3
  Princeton-Florida is defunct and both its rights and obligations passed to Princeton-Delaware
 by operation of both Florida and Delaware law. Fla Stat. §607.1106; 8 Del. C. § 259(a).

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           In connection with a 2024 merger of Princeton-Florida into Princeton-Delaware, Daniels,

 a former employee of Princeton-Florida and a minority shareholder, was offered fair value for his

 shares in connection with the merger, and his shares were extinguished. (Am. Compl. ¶¶ 21-26).

           Daniels claims ownership of stock in a Delaware corporation. The situs of stock in a

 Delaware corporation is deemed to be in Delaware. Because the claims relate to the existence,

 nature, and attributes of that stock, jurisdiction in this Court is appropriate.

     IV.      Argument

           Although this case is based on in rem jurisdiction, this Court may exercise personal

 jurisdiction over Daniels if “service of process is authorized by statute [and that] the exercise of

 personal jurisdiction [] comport[s] with the due process clause of the Fourteenth Amendment.”

 Feeley v. NHAOCG, LLC, 2012 WL 966944, at *4 (Del. Ch. Mar. 20, 2012) (citing

 HMG/Courtland Props., Inc. v. Gray, 729 A.2d 300, 303 (Del. Ch.1999)).

           The Amended Complaint explains why this Court may resolve the ownership dispute over

 the Delaware stock at issue pursuant to 6 Del. C. § 169 in connection with the request for a

 declaration that no shares of Princeton-Delaware have been issued to Daniels. “While the term

 “property,” as used in the [long-arm] statute, clearly pertains to real and tangible personal property,

 it also applies to intangible property such as stock.” Donald J. Wolfe & Michael A. Pittenger, 1

 Corp & Commercial Practice in the Delaware Court of Chancery § 3.03, at 3-32 (2025) (citing

 Greene v. Johnson, 99 A.2d 627 (Del. 1953)). It is proper to exercise jurisdiction over Daniels’

 claims to own stock in Princeton-Delaware for the purpose of declaring that no such interest exists.

              A. This Court has Jurisdiction

           Delaware courts have for years considered the question of whether ownership of stock in

 a Delaware corporation, without further contacts with the state, can support the exercise of



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 jurisdiction. The reasoning has evolved over time to conclude in recent years that “jurisdiction

 over a holder of shares of stock in a Delaware corporation based solely upon the statutory situs of

 those shares in Delaware would be constitutionally permissible only where the cause of action

 relates to specific rights or characteristics inherent in the shares[.]” Donald J. Wolfe & Michael A.

 Pittenger, 1 Corp & Commercial Practice in the Delaware Court of Chancery § 3.03[d][3], at 3-

 32 (2025). That is precisely the case here—the cause of action is to determine specific alleged

 rights Daniels claims that are inherent in the shares of Princeton-Delaware. That makes the

 exercise of jurisdiction permissible.

                 1. In Personam, Quasi In Rem or In Rem Jurisdiction

         Jurisdiction in this matter would be appropriate either under a theory of personal

 jurisdiction based on Daniels’ claims to own intangible property within the state—i.e., ownership

 of stock in a Delaware corporation, or under a theory of quasi in rem or in rem jurisdiction based

 on the situs of the stock itself. It is not necessary to have both. As the long-arm statute indicates,

 and as illustrated by a leading federal practice treatise: “The presence of property may suggest

 contacts sufficient to permit an exercise of jurisdiction in those cases in which the defendant's

 property interest within the state, whether tangible or intangible, is related directly to the plaintiff's

 cause of action.” Wright & Miller, 4A Fed. Prac. & Proc. Civ.§ 1072 (4th ed.) (discussing

 International Shoe Co. v. State of Wash., Office of Unemployment Compensation and Placement,

 326 U.S. 310, 319 (1945)).

         In the analogous context of 6 Del. C. §18-110 and 8 Del. C. § 225, Delaware courts have

 held that it is not necessary for the court to have personal jurisdiction over a party if in rem

 jurisdiction exists. Delaware courts have held that “it is not necessary for all claimants to the office

 to be subject to the Court's in personam jurisdiction in order for the Court to make an authoritative



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 determination” because the proceeding decides rights to a corporate office over which the court

 has jurisdiction. Feeley v. NHAOCG, LLC, 2012 WL 966944, at *5 (Del. Ch. Mar. 20, 2012) (citing

 Haft v. Dart Gp. Corp., 1996 WL 255899, at *2 (Del. Ch. Apr. 26, 1996)) (interpreting 8 Del. C.

 § 225). In that case, Vice Chancellor Laster stated: “The defendants in such a proceeding appear

 before the Court “not individually, but rather, as respondents being invited to litigate their claims

 to the res (here, the disputed corporate office) or forever be barred from doing so.” Id.

        Because the action relates directly to the existence of and ownership of the stock, an

 analysis of both bases for jurisdiction may be unnecessary. “[T]he availability of quasi-in-rem

 jurisdiction usually is superfluous because most long-arm statutes either expressly allow full in

 personam jurisdiction to be exercised over a nonresident defendant in actions arising out of his

 ownership, use, or possession of local property, or do so indirectly because they reach to the full

 extent of what is permitted under the Due Process Clause.” Wright & Miller, 4A Fed. Prac. &

 Proc. Civ.§ 1072 (4th ed.).

        Moreover, Daniels is purposely invoking contacts by claiming rights to ownership of stock

 in a Delaware corporation. Constitutionally permissible exercise of jurisdiction can exist where,

 as here, Daniels’ claims to Princeton-Delaware’s stock “manifest[] the nonresident defendant’s

 purposeful invocation of the benefits and protections of Delaware law in connection with the

 transaction that is the subject matter of the litigation.” Donald J. Wolfe & Michael A. Pittenger, 1

 Corp & Commercial Practice in the Delaware Court of Chancery § 3.03[d][3], at 3-33 (2025).

 Daniels has sought a declaration concerning the value of his shares and the ability to transfer his

 shares—claims that go directly to the nature and attributes inherent in Delaware stock. Ex. A, ¶

 53(a). In seeking such a declaration, Daniels both demonstrates that the claims relate to the




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 existence, nature and attributes of the stock, which satisfies the jurisdictional inquiry, and confirms

 that jurisdiction is appropriate because he invokes the protection of Delaware law as a stockholder.

        Prior to the enactment of 10 Del. C. §§3114 and 3104, the director and officer consent

 statute and Delaware’s long-arm statute, there was no direct mechanism by which the courts could

 exercise in personam jurisdiction over non-resident defendants. Donald J. Wolfe & Michael A.

 Pittenger, 1 Corp & Commercial Practice in the Delaware Court of Chancery § 3.03[a], at p. 3-

 14 (2025). To assert in rem and quasi in rem jurisdiction, prior to the long-arm statute, parties

 could only rely upon Section 169 of the DGCL, which “treat[s] Delaware as the situs of capital

 stock in a Delaware corporation.” Id.

        While the most recent jurisprudence supports jurisdiction in cases where the nature or

 ownership of the stock itself is at issue, the caselaw has evolved on this point. The United States

 Supreme Court rejected arguments in Shaffer v. Heitner, 433 U.S. 186 (1977), that ownership of

 stock seized could form the sole basis for jurisdiction because the stock had no relationship to the

 subject matter of the suit. Id., (citing Shaffer, 433 U.S. at 213, 218). These are not our facts. The

 Shaffer decision left open the possibility that jurisdiction could properly be exercised where the

 underlying cause of action was directly related to the stock, stating: “For example, when claims to

 the property are the source of the underlying controversy between the plaintiff and the defendant,

 it would be unusual for the State where the property is located not to have jurisdiction.” Id. at 207.

 So too here.

        Daniels’ Motion to Dismiss ignores important Delaware precedent post-Shaffer that

 considered the very question at issue here, despite the fact that those cases are cited in the Amended

 Complaint.




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         After the Shaffer decision, Delaware courts continued to examine the question of whether

 the situs of stock in Delaware could alone create sufficient minimum contact to allow the

 constitutional exercise of jurisdiction. Two decisions by Chancellor Allen in Hart Holding Co. v.

 Drexel Burnham Lambert, Inc., marked an evolution on this issue. In the first, Chancellor Allen

 noted that both the U.S. Supreme Court and the Delaware Supreme Court had left the issue of

 jurisdiction based on stock situs open. The first decision addressed whether the plaintiff’s asserted

 theories of jurisdiction were frivolous, and he noted: “[w]here the action is one to determine the

 validity or ownership of stock, or the existence of rights to exercise power with respect to the stock

 (e.g., voting), the ownership of stock in a Delaware corporation alone would arguably qualify as a

 “contact” with the jurisdiction that would count in assessing amenability to suit here.” Hart

 Holding Co., 593 A.2d 535, 543. Although the exercise of jurisdiction in that case was found to

 be improper, because the underlying case related to a fraud in the issuance of the stock, Chancellor

 Allen indicated that where the validity or attributes of the stock itself were at issue, jurisdiction

 could be proper. He stated that: “where the subject matter of the litigation involves the legal

 existence of stock in a Delaware corporation, or its character or attributes (e.g., its validity [] etc.),

 I am convinced that ownership of the stock, without more, will ordinarily be sufficient to satisfy

 the dictates of common fairness to permit binding adjudication in this court of such claim, without

 regard to where the holder may reside.” Hart Holding Co. v. Drexel Burnham Lambert, Inc., 1992

 Del. Ch. LEXIS 112, *21-22 (Del. Ch. May 28, 1992).

         Later, the Court of Chancery held that due process considerations could be satisfied by

 owning stock in a Delaware corporation where “the connection between the forum (Delaware), the

 defendant (an owner of stock in a Delaware corporation), and the litigation (judicial determination

 of attributes of stock based on, e.g., the governing documents of a Delaware corporation) quite



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 possibly would justify an exercise of in rem jurisdiction “over the interests of persons in” that

 stock.” OneScreen Inc. v. Hudgens, 2010 WL 1223937, at *5 (Del. Ch. Mar. 30, 2010).

          Most recently, the Court of Chancery explicitly held that: “Shares of stock in a Delaware

 corporation are personal property within the jurisdiction of the Court. See 8 Del. C. § 169. [The

 Company] is a Delaware corporation. The Shares are therefore within the jurisdiction of the

 Court.” In re Stream TV Networks, Inc. Omnibus Agreement Litig., 283 A.3d 1183, 1193 (Del Ch.

 2022).

          This case is an example of the exception to the general holding in Shaffer, as explained in

 Hart Holding and OneScreen, and confirmed in In re Stream TV. Here, Daniels claims to own

 stock in a Delaware corporation as the result of a merger of Princeton-Florida into Princeton-

 Delaware, and the only issue is the existence—or not—in Delaware of the shares he claims an

 interest in. This fact-specific analysis is analogous to the facts described by Chancellor Allen in

 Hart Holding and by Vice Chancellor Parsons in OneScreen.

                 2. This Court may exercise In Rem jurisdiction and Defendant fails to
                    acknowledge the statutory basis for jurisdiction

          “For all purposes of title, the situs of the ownership of the shares of stock in every Delaware

 corporation is within the State of Delaware.” R. Franklin Balotti & Jesse A. Finkelstein, 1 The

 Delaware Law of Corporations & Business Organizations, §5.18, at 5-59 (2025).4




 4
   Delaware courts often exercise jurisdiction over nonresidents whose only connection to Delaware
 is the purchase of stock in a Delaware corporation. See Wolfe, § 3.03[d][3], n. 140 (“buying stock
 of a Delaware corporation [] is itself a sufficient act to establish a nexus with the jurisdiction that
 creates and regulates the internal governance of that corporation to render it consistent with
 traditional notions of fairness to bind the holder of that stock as a plaintiff to adjudications
 concerning the corporate rights that attach to that stock … it is not unreasonable—not inconsistent
 with traditional notions of fairness[.]”) (quoting Hynson v. Drummond Coal Co., 601 A.2d 570,
 579 (Del. 1991)). To the extent Daniels intends to claim there is no jurisdiction over him because
 he only claims to own stock, an analogy can be found in the provisions of the LLC Act providing
                                                    8
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        The Court of Chancery has instructed that:

        “The Court may not simply disregard the minimum contacts inquiry even in an
        action that relates directly to the legal existence of stock or its character or
        attributes. Rather, in a limited number of situations, ownership of stock in a
        Delaware corporation may, by itself, be a sufficient minimum contact to satisfy the
        demands of due process. In such a case, the connection between the forum
        (Delaware), the defendant (an owner of stock in a Delaware corporation), and the
        litigation (judicial determination of attributes of stock based on, e.g., the governing
        documents of a Delaware corporation) quite possibly would justify an exercise of
        in rem jurisdiction “over the interests of persons in” that stock.”

 OneScreen Inc. v. Hudgens, 2010 WL 1223937, at *5 (Del. Ch. Mar. 30, 2010).

        The In re Stream TV decision, explicitly holding that “[s]hares of stock in a Delaware

 corporation are personal property within the jurisdiction of the Court” confirms that in rem

 jurisdiction exists here. In re Stream TV, 283 A.3d at 1193.

        Princeton-Delaware has met its burden to demonstrate that in rem jurisdiction exists.

        In addition, Daniels himself, in making a claim that he is the owner of Princeton-Delaware

 stock, has invoked the benefits and protections of Delaware law and subjects himself to its

 jurisdiction. See Wolfe, § 3.03[d][3].

        Despite the varied nature of Daniels’ Florida claims, in colloquy with the Florida Court, in

 an attempt to clarify the nature of the remedies sought, Daniels admitted that he is only seeking

 monetary damages. Ex. B at. 13:4 (“I just want a damage award.”). If he won, he would need to

 come to Delaware to collect assets of Princeton-Delaware.




 a basis for personal jurisdiction for those claiming the title of manager of an LLC but not actually
 serving as such. See McMillan v. Nelson, 2024 WL 3311812, at *5 (Del. Ch. July 5, 2024).



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               B. This matter should not be transferred to the United States District Court for
                  the Southern District of Florida

            Daniels asserts that Princeton-Delaware’s filing of the declaratory judgment action in the

 Delaware Court of Chancery was an attempt at forum shopping. Not so. Rather, Princeton-

 Delaware, when it became apparent that Daniels’ claims could not be resolved, sought a

 declaration in the only state that has jurisdiction over all parties in this case. Daniels has never

 lived or worked in Florida and Princeton-Delaware could not have brought suit against him there.

 Daniels was never an officer of Princeton-Florida, and, even if he had been, Florida has no

 jurisdictional statute similar to that of Delaware that imposes jurisdiction on directors and officers.

 Jurisdiction over the directors and officers of Princeton-Delaware, who are named in the Florida

 suit, is appropriate in Delaware, and the Florida Defendants have requested that the Florida case

 be transferred to Delaware because it is the forum in which jurisdiction is appropriate over all

 parties.

            Princeton-Delaware, as the corporation surviving the merger, assumes the rights and

 obligations of Princeton-Florida post-merger. See DGCL § 259(a), Am. Compl. ¶ 8, Ex. B at 4-5.

 Daniels freely admits that he is seeking monetary damages in the Florida action. Ex. B at 13:4 (“I

 just want a damage award.”). Should any damages award result from his claims, any judgment

 would be executed in Delaware. There are no assets in Florida. That very issue prompted the

 Florida court to ask: “If you’re just seeking damages from the Delaware company, why is this in

 the Southern District of Florida the appropriate place to litigate this as opposed to Delaware, if the

 parties are all in Delaware, if the primary Defendant who would arguably pay damages is in

 Delaware, why would this case be appropriate for the Southern District of Florida?” Ex. B at 13:8-

 13.




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        Princeton-Delaware is not subject to suit in Florida. Princeton-Florida5 is defunct (See Ex.

 B. ¶¶ 9, 46; Fla. Stat. §§ 607.1101, 607.1106(1)(b) and (c)), and none of the directors of Princeton-

 Delaware are subject to jurisdiction in Florida. Florida’s corporate shield doctrine also precludes

 a finding that the Florida Court has personal jurisdiction over Crotty, Macris, and Werntz. All of

 the directors live in the northeastern part of the United States Id. ¶¶ 6-8, and Daniels himself lives

 in the suburbs of Philadelphia. Id. ¶ 5.

        “The party seeking transfer bears the burden to establish that a balancing of proper interests

 weighs in favor of transfer. … The Third Circuit has held, however, that unless the balance of

 convenience of the parties is strongly in favor of the defendant, the plaintiff’s choice of forum

 should prevail.” United States v. United States Sugar Corporation, 2022 WL 354228, at *2 (D.

 Del. Jan. 11, 2022) (citing Shutte v. Armco Steel Corp., 431 F.2d 22, 25 (3d Cir.1970)).

        The provisions of 28 U.S.C. § 1404(a) were “intended to vest district courts with broad

 discretion to determine, on an individualized, case-by-case basis, whether convenience and

 fairness considerations weigh in favor of transfer” to another district where a claim might have

 been brought. Graphics Properties Holdings, Inc. v. Asus Computer International, 964 F.Supp.2d

 320 (D. Del 2013) (quoting Jumara v. State Farm Ins. Co., 55 F.3d 873, 883 (3d Cir. 1995)). The

 instant case could not have been brought in Florida and should not be transferred there.




 5
  Princeton-Florida was incorporated in Florida was because the founder’s father-in-law who
 practiced law in South Florida prepared the incorporation documents for free. There was no other
 personal or business reason. Ex. B p. 6.

                                                  11
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                 1. Florida has no statutory basis for jurisdiction over directors or officers of
                    a Florida corporation

        Although Daniels attempts to persuade this Court that jurisdiction would be appropriate in

 Florida, his Florida Complaint lacks any factual support for any basis for jurisdiction.6

                            a. Fla. Stat. § 48.193(1)(a)(1) is Not Satisfied.

        There is no personal jurisdiction in Florida over Princeton-Delaware or any of the other

 Florida Defendants due to their alleged business conduct in Florida.7 “In order to establish that a

 defendant is carrying on business for the purpose of the long-arm statute, the activities of the

 defendant must be considered collectively and show a general course of business activity in the

 state for pecuniary benefit.” Horizon Aggressive Growth, L.P. v. Rothstein-Kass, P.A., 421 F.3d

 1162, 1167 (11th Cir. 2005) (internal quotations omitted); Meier ex rel. Meier v. Sun Int’l Hotels,

 Ltd., 288 F.3d 1264, 1269 n.6 (11th Cir. 2002). “Factors relevant, but not dispositive, to this

 analysis include the presence and operation of an office in Florida, the possession and maintenance

 of a license to do business in Florida, the number of Florida clients served, and the percentage of

 overall revenue gleaned from Florida clients.” Horizon Aggressive Growth, 421 F.3d at 1167

 (internal citations omitted).

        The Florida Defendants have only limited and sporadic, if any, contacts with the State of

 Florida. Neither Princeton-Florida nor Princeton-Delaware have ever had a Florida office; only

 minimal sales to customers and some retailers have ever been made in Florida; neither Princeton-

 Florida nor Princeton-Delaware have directed any marketing, advertising or sponsorship dollars

 into Florida.


 6
  The Florida Complaint is attached as Ex. A. The transcript of the Florida hearing on the Florida
 Defendants’ Motion to Stay is attached as Ex. B.
 7
  The Florida Defendants have a pending Motion to Dismiss and Motion to Drop Improper Party
 based on jurisdictional arguments.

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                             b. The Florida Court Lacks Personal Jurisdiction and Jurisdiction
                                Based on Florida’s Corporate Shield Doctrine.

         None of the Florida defendants, in their corporate capacity or as individuals, have sufficient

 minimum contacts with Florida to be sued there.

         Unlike Delaware, in Florida, service as directors in a Florida corporation cannot alone

 establish personal jurisdiction. Florida’s “corporate shield doctrine prohibit[s] the exercise of

 jurisdiction under the Florida long-arm statute over corporate employees whose only conduct in

 Florida was in furtherance of a corporation’s interests.” Lane v. XYZ Venture Partners, L.L.C., 322

 Fed. Appx. 675, 678 (11th Cir. 2009) (citing Doe v. Thompson, 620 So.2d 1004, 1006 (Fla. 1993)).

         Neither can the limited contacts with Florida resulting from incorporating in Florida

 convey personal jurisdiction over the Florida Defendants. Trustees of Columbia Univ. in City of

 New York v. Ocean World S.A., 12 So.3d 788, 795 (Fla. 4th DCA 2009). In their individual

 capacities, Crotty, Macris, and Werntz have no business ventures in Florida, nor have they engaged

 in activities in Florida that would establish jurisdiction.

                             c. The Jumara factors do not favor transfer

         In considering a § 1404(a) motion, a two-step analysis is performed. “First, the Court

 determines whether the action could have been brought in the proposed transferee forum. Next,

 the Court must balance the appropriate considerations and determine whether, under the particular

 facts of the case, the request to transfer venue should be granted.” Graphics Properties, 964

 F.Supp.2d at 324 (citing Shutte v. Armco Steel Corp., 431 F.2d 22, 24 (3d Cir.1970) and

 Jumara, 55 F.3d at 879).

         As explained above, this case could not have been brought in Florida. The inquiry into

 transfer can end there, as the first factor is not satisfied.




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         Should this Court determine that the case could have been brought in Florida, and examines

 the second part of the analysis, it must consider the balancing of private and public interest factors

 identified by the Third Circuit in Jumara:

         The private factors include: (1) “the plaintiff's forum preference as manifested in
         the original choice;” (2) “the defendant's preference;” (3) “whether the claim arose
         elsewhere;” (4) “the convenience of the parties as indicated by their relative
         physical and financial condition;” (5) “the convenience of the witnesses—but only
         to the extent that the witnesses may actually be unavailable for trial in one of the
         fora;” and (6) “the location of books and records (similarly limited to the extent that
         the files could not be produced in the alternative forum).”

         The public interest factors include: (1) “the enforceability of the judgment;” (2)
         “practical considerations that could make the trial easy, expeditious, or
         inexpensive;” (3) “the relative administrative difficulty in the two fora resulting
         from court congestion;” (4) “the local interest in deciding local controversies at
         home;” and (5) “the familiarity of the trial judge with the applicable state law in
         diversity cases.”

 Graphics Properties, 964 F. Supp. 2d at 325 (quoting Jumara, 55 F.3d at 879–80) (cleaned up).

         Daniels bears the burden “to establish that a balancing of proper interests weighs in favor

 of the transfer.” Jumara, 55 F.3d at 879–80. “The burden is a heavy one: ‘unless the balance of

 convenience of the parties is strongly in favor of defendant, the plaintiff’s choice of forum should

 prevail.’” Graphics Properties, 964 F. Supp. 2d at 325, quoting Shutte, 431 F.2d at 25 (emphasis

 in the original).

         An examination of each factor reveals that this case should remain in this Court.

                         i. Private Factors:

 Plaintiff’s Forum Preference

         This factor weights against transfer. “It is black letter law that a plaintiff's choice of a proper

 forum is a paramount consideration in any determination of a transfer request—one that should

 not be lightly disturbed. Assuming jurisdiction and proper venue, weight is given to plaintiff's

 choice because it is plaintiff's choice and a strong showing under the statutory criteria in favor of

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 another forum is then required as a prerequisite to transfer.” United States v. United States Sugar

 Corp., 2022 WL 354228, at *3 (D. Del. Jan. 11, 2022) (quoting Shutte, 431 F.2d at 25, Burroughs

 Wellcome Co. v. Giant Food, Inc., 392 F. Supp. 761, 763 n.4 (D. Del. 1975)) (cleaned up).

        Princeton-Delaware “is a Delaware-incorporated entity that has elected to bring suit in

 Delaware. That choice remains entitled to paramount consideration, and, therefore, this factor

 weighs against transfer.” Samsara Inc. v. Motive Technologies, Inc., 2024 WL 3822981, at*4 (D.

 Del. Aug. 14, 2024) (internal quotations omitted).

        The choice of Delaware as a forum is sensible, not only because Princeton-Delaware is a

 Delaware corporation, but because the merger underlying the dispute over Daniels’ purported

 ownership of Princeton-Delaware stock both requires an application of the Delaware General

 Corporation Law, and interpretation of its corporate documents.8 See, e.g. United States v. Energy

 Solutions, Inc., 2016 WL 7397069, at *2 (D. Del. Dec. 21, 2016). Moreover, it is, as explained

 supra, the forum where venue and personal jurisdiction are proper for all potential Defendants,

 even if the Florida case should be transferred to this Court.

 Defendant’s Forum Preference

        Daniels prefers having this case transferred to the Southern District of Florida.

 Whether the Claims Arose Elsewhere

        This factor favors Delaware, as “the Court should look to where the corporate decisions

 underlying the claims were made.” United States v. United States Sugar Corp., 2022 WL 354228,

 at *4 (D. Del. Jan. 11, 2022) (quoting F.T.C. v. Graco, Inc., 2012 WL 3584683, at *5 (D.D.C. Jan




 8
   Notably, Section 259(a) of the DGCL gives the surviving corporation the power to enforce any
 rights or defenses of the constituent Florida corporation.

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 26, 2012)) (cleaned up). Daniels’ claims to ownership of stock in Princeton-Delaware arise from

 the merger of Princeton-Florida into Princeton-Delaware, which occurred in Delaware.

 Convenience of the Parties as Indicated by Their Relative Physical and Financial Condition

          This factor weighs in favor of remaining in Delaware. “Determining convenience of the

 parties requires the Court to consider: (1) the parties’ physical location; (2) the associated logistical

 and operational costs to the parties in traveling to Delaware – as opposed to the proposed transferee

 district – for litigation purposes; and (3) the relative ability of each party to bear these costs in light

 of its size and financial wherewithal.” See MEC Resources, LLC v. Apple, Inc., 269 F. Supp. 3d

 218, 225 (D. Del. 2017) (citing Memory Integrity, LLC v. Intel Corp., 2015 WL 632026, at *4 (D.

 Del. Feb. 13, 2015) (internal quotations omitted)).

          All parties are physically located in the Northeastern part of the United States; Daniels

 himself is within about a 45 minute or so drive of this courthouse. All parties involved could drive

 to Delaware more quickly and easily than they could fly to Florida. As far as the ability to bear

 travel costs, Daniels is physically located the closest to this courthouse and could easily drive; the

 Princeton-Delaware officers are all located in New Jersey and Connecticut, and since 2017,

 Princeton CarbonWorks’ principal place of business has been in Connecticut. Corporate books and

 records can be obtained from Delaware or the Connecticut principal place of business.

 Convenience of the Witnesses

          This factor favors remaining in Delaware for the foregoing reasons. It carries weight “only

 to the extent that the witnesses may actually be unavailable for trial in one of the fora.” Jumara,

 55 F.3d at 879. There are no third-party witnesses that this Court should be concerned about

 inconveniencing. See Intellectual Ventures I LLC v. Altera Corp., 842 F.Supp.2d 744, 757 (D. Del.

 2012).



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 Location of Books and Records

        This factor favors remaining in Delaware, or is neutral, as documents are electronic.

                                  ii.   The Public Factors

 Enforceability of the Judgment

        This factor is neutral; judgments of both courts are equally enforceable.

 Practical Considerations

        This factor similarly weighs against transfer. In evaluating this factor, the Court considers

 “practical considerations that could make the trial easy, expeditious, or inexpensive.” Jumara, 55

 F.3d at 879. Litigating in Florida imposes significantly more expense; witnesses would be required

 to travel to Florida multiple times for depositions, hearings, and trial.

 Relative Administrative Difficulty Due to Court Congestion

        This factor is neutral.

 Local Interest in Deciding Local Controversies at Home

        This factor may be the most important consideration; Delaware Courts have a strong

 interest in deciding questions of internal corporate governance of Delaware corporations.

 “Delaware has a paramount interest in the prompt resolution of a dispute that impacts the

 governance of a Delaware corporation.” Wolfe, 5.01[e], at 5-31 (quoting La. State Emps.’ Ret. Sys.

 v. Citrix Sys., 2001 Del. Ch. LEXIS 2, at *11 (Jan. 5, 2001)). Whether Daniels owns shares of

 Princeton-Delaware will impact the governance of the Company and require interpretation of

 Princeton-Delaware’s corporate governance documents.

 Public Policies of the Fora

        “[T]his factor weighs against transfer … because … public policy encourages Delaware

 corporations to resolve disputes in Delaware courts. United States v. United States Sugar Corp., at



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 * 9 (quoting Graphics Props., 964 F.Supp.2d at 331). This Court has an interest in resolving

 disputes involving corporate governance of Delaware corporations. No such interest exists in the

 Florida forum.

 Familiarity of the Trial Judge with the Applicable State Law in Diversity Cases

        This Court is more familiar than a Florida court in applying the Delaware General

 Corporation Law. This factor weighs against transfer of this matter.

 Balancing the Private and Public Factors

        Only one factor—Defendant’s preference—weighs in favor of transfer. The other factors

 are overwhelmingly in favor of retaining jurisdiction in this Court, or are neutral. Giving each its

 appropriate weight in light of the heavy burden borne by the Defendant in requesting transfer, it is

 clear that the Jumara factors require that this matter remain in this Court.

 V.     Conclusion

        Because Daniels claims ownership in shares of a Delaware corporation, and the Delaware

 General Corporation Law establishes in Section 169 that the situs of those shares is in Delaware,

 jurisdiction is appropriate in this Court. This Court should deny Daniels’ request to transfer this

 matter to Florida because Daniels has failed to meet the heavy burden of showing the Jumara




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 factors weigh in favor of transfer. Accordingly, Daniels’ Motion to Dismiss and Motion to Transfer

 should both be denied.


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